   21-30071-cgb Doc#310-1 Filed 05/14/22 Entered 05/14/22 21:59:13 Ntc Fil Transcript BK
                                    int ptys Pg 1 of 1
                         UNITED STATES BANKRUPTCY COURT
                                Western District of Texas

                                                                                 Bankruptcy Case
                                                                                                 21−30071−hcm
                                                                                            No.:
                                                                                    Chapter No.: 11
                                                                                          Judge: H. Christopher Mott
IN RE: The Gateway Ventures, LLC , Debtor(s)


                      NOTICE OF FILING OF TRANSCRIPT
          AND OF DEADLINES RELATED TO RESTRICTION AND REDACTION
       A transcript of the proceeding held on 01/13/2022 was filed on 05/24/2022. The following deadlines apply:

      The parties have until May 23, 2022 to file with the court a Notice of Intent to Request Redaction of this
transcript. The deadline for filing a request for redaction is June 6, 2022.

      If a request for redaction is filed, the redacted transcript is due June 14, 2022.

       If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of
the restriction period, which is August 12, 2022 unless extended by court order.

     To review the transcript for redaction purposes, you may purchase a copy from the transcriber Exceptional
Reporting Services, Inc. (361) 949−2988, or you may view the document at the clerk's office public terminal.




Dated: 5/16/22
                                                                       Barry D. Knight
                                                                       Clerk, U. S. Bankruptcy Court
                                                                       BY: Bridget Hardage
                                                    [Notice of Filing of Transcript and of Deadlines Related to Restriction and Redaction (BK)] [NtcftddlrrBKap] ]
